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                                                                February 16, 2022

VIA ECF

The Honorable Loretta A. Preska
District Court Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

        Re:     Giuffre v. Maxwell, Case No. 15-cv-7433-LAP

Dear Judge Preska,

        Plaintiff writes in response to the Court’s November 15, 2021 amended order concerning
the briefing cycle to address the non-party Doe objections. Dkt. 1235. Now that the briefing cycle
is complete for the first eight non-parties, Plaintiff proposes that the Court begin the process for
the remaining eight non-parties. 1
        Accordingly, Plaintiff proposes that the parties submit opening briefs no later than March
18, 2022. The Herald may file a responsive brief no later than two weeks after the parties file their
opening briefs. Next, the objecting non-party Does may file a reply in response to the parties’
opening briefs and the Herald’s responsive brief no later than one week after the Herald files its
brief. Finally, the parties shall file any reply briefs no later than two weeks after the objecting non-
party Does file their reply briefs.

       Plaintiff has inquired as to Defendant’s position but has not received a response from
counsel.
                                                Sincerely,

                                                /s/ Sigrid S. McCawley
                                                Sigrid S. McCawley, Esq.

                                                         The proposed briefing schedule is
        cc: Counsel of Record (via ECF)                  granted. Counsel shall
                                                         communicate this order to counsel
                                                         for the non-party objectors.

                                                         SO ORDERED.


                                                                                       2/16/2022
1
        The second set of non-parties include Does 12, 28, 97, 107, 144, 147, 169, and 181.
